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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA


   DONALD J. TRUMP,

                              Plaintiff,

                  v.
                                                               Case No. 2:22-cv-14102-DMM
   HILLARY R. CLINTON, et al.,

                              Defendants.


       DEFENDANT HFACC, INC.’S MOTION TO DISMISS THE COMPLAINT AND
                    MEMORANDUM OF LAW IN SUPPORT

           Defendant HFACC, Inc. (the “Clinton Campaign” or “HFA”), by and through undersigned

   counsel, moves to dismiss Plaintiff’s claims against Defendant with prejudice. Defendant moves

   to dismiss on the grounds that Plaintiff’s claims are time-barred on the face of the complaint, and

   each of Plaintiff’s claims against Defendant fail on the merits.

                                              ARGUMENT

      I.      COUNTS I, II, IV, VII, VIII AND XIII OF THE COMPLAINT SHOULD BE
              DISMISSED BECAUSE THE STATUTE OF LIMITATIONS ON THESE
              CLAIMS HAS EXPIRED.

           Defendant HFA joins in and adopts the arguments in Section I of Defendant Hillary

   Rodham Clinton’s Motion to Dismiss (Dkt. 52) that Plaintiff’s claims are time-barred on the face

   of the Complaint and should therefore be dismissed. Dismissal on statute of limitations grounds

   is appropriate where it is apparent on the face of the complaint that Plaintiff’s claims are time-

   barred. La Grasta v. First Union Sec., Inc., 358 F.3d 840, 845-46 (11th Cir. 2004).

           As articulated in Section I of Defendant Hillary Rodham Clinton’s Motion to Dismiss,

   Plaintiff’s claims relate to events that occurred in 2016 and 2017, as such the statute of limitations
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   has long expired. The allegations that Defendants conspired to (1) create the Steele Dossier, (2)

   obtain and reveal internet data of a connection between Trump Tower and Alfa Bank, (3) provide

   false statements to law enforcement, and (4) disseminate false and injurious information, are all

   alleged events that occurred over four years ago. Moreover, Plaintiff’s own Complaint and his

   tweets demonstrate that he has been aware of the purported injuries for years.

          The statute of limitations for civil RICO actions (Count I) and conspiracy to commit RICO

   violations (Count II) is four years and runs from the date the injury was or should have been

   discovered. Lehman v. Lucom, 727 F.3d 1326, 1330 (11th Cir. 2013). On October 29, 2017,

   Plaintiff tweeted about the same conspiracy which he now alleges in the Complaint. 1 Plaintiff’s

   own statements reveal that he was on notice of the alleged conspiracy and injury more than four

   years ago, therefore, his claim is time-barred and should be dismissed.

          The statute of limitations for conspiracy to commit injurious falsehood (Count IV) is four

   years from the date of the injury. King v. Bencie, 806 Fed. Appx. 873, 875 (11th Cir. 2020) (noting

   the statute of limitations for civil conspiracy is four years); Newberger v. U.S. Marshals Serv., 751

   F.2d 1162, 1166 (11th Cir. 1985) (holding that actions for conspiracy in Florida are governed by

   a four-year statute of limitations). Plaintiff’s allegations that HFA “repeatedly fed disinformation

   to the media” and “shared false narratives” points to acts that occurred on or before March 24,

   2017. Compl. ¶ 6. Plaintiff’s claims expired by March 2021 and should therefore be dismissed.




   1
           “Never seen such Republican ANGER & UNITY as I have concerning the lack of
   investigation on Clinton made Fake Dossier (now $12,000,000?), the Uranium to Russia deal, the
   33,000 plus deleted Emails, the Comey fix and so much more. Instead they look at phony
   Trump/Russia, ‘collusion,’ which doesn't exist. The Dems are using this terrible (and bad for our
   country) Witch Hunt for evil politics, but the R’s are now fighting back like never before. There
   is so much GUILT by Democrats/Clinton, and now the facts are pouring out. DO SOMETHING!”
   Donald J. Trump (@realDonaldTrump), Twitter (Oct. 29, 2017), archived at The Trump Twitter
   Archive, thetrumparchive.com.
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            The statute of limitations under the Computer Fraud and Abuse Act (Count VII) is two

   years from the violation, or discovery of the violation. 18 U.S.C. § 1030(g). Plaintiff alleges the

   DNS lookup information was publicly known in October 2016. Compl. at ¶¶ 183–89. Even if

   Plaintiff only became aware of the identity of the alleged perpetrators until more recently, his

   knowledge of the DNS information’s release in October 2016 indicates the statute of limitations

   expired in late October 2018. Sewell v. Bernardin, 795 F.3d 337, 342 (2d Cir. 2015) (holding that

   claims under the Computer Fraud and Abuse Act accrue when the plaintiff is aware of the alleged

   violation, even if the plaintiff does not know the identity of the alleged perpetrators).

            The statute of limitations for a civil action for theft of trade secrets under 18 U.S.C.

   § 1836(d) is three years from the date “on which the misappropriation with respect to which the

   action would relate is discovered or by the exercise of reasonable diligence should have been

   discovered.” 18 U.S.C. § 1836. Here, again, Plaintiff’s claims accrued upon public knowledge of

   his DNS traffic in October 2016. The statute of limitations therefore ran in late October 2019.

            To the extent that Count XIII, “Respondeat Superior/Vicarious Liability” is intended to

   hold HFA vicariously responsible for torts brought against Defendants Jake Sullivan, John

   Podesta, and Robbie Mook, the claims expired four years from the date of the injury. See King,

   806 Fed. Appx. at 875; Newberger, 751 F.2d at 1166.

      II.      COUNTS I, II, IV, VII, VIII AND XIII OF THE COMPLAINT SHOULD BE
               DISMISSED BECAUSE PLAINTIFF’S CLAIMS FAIL ON THE MERITS.

            Defendant HFA joins in and adopts the arguments in Sections II A, B, D, and F of

   Defendant Hillary Rodham Clinton’s Motion to Dismiss (Dkt. 52) that Plaintiff’s claims fail on

   the merits and should therefore be dismissed.

            “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

   accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.

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   662, 678 (2009) (internal quotation marks omitted). “A claim has facial plausibility when the

   plaintiff pleads factual content that allows the court to draw the reasonable inference that the

   defendant is liable for the misconduct alleged.” Id.      “Threadbare recitals of the elements of a

   cause of action, supported by mere conclusory statements, do not suffice.” Id. In making a fraud

   claim, “a party must state with particularity the circumstances constituting fraud or mistake.”

   Fed.R.Civ.P. 9(b). To satisfy the heightened pleading standard of Rule 9(b), a complaint must set

   forth:

            (1) precisely what statements were made in what documents or oral representations
            or what omissions were made, and (2) the time and place of each such statement
            and the person responsible for making (or, in the case of omissions, not making)
            same, and (3) the content of such statements and the manner in which they misled
            the plaintiff, and (4) what the defendants obtained as a consequence of the fraud.

   Garfield v. NDC Health Corp., 466 F.3d 1255, 1262 (11th Cir.2006).

       A. Count I: RICO

            As articulated in Section II A of Defendant Hillary Rodham Clinton’s Motion to Dismiss,

   Plaintiff has failed to state a RICO claim for which he is entitled relief. In order to sustain a RICO

   claim, a plaintiff must “plausibly allege six elements: that the defendants (1) operated or managed

   (2) an enterprise (3) through a pattern (4) of racketeering activity that included at least two

   predicate acts of racketeering, which (5) caused (6) injury to the business or property of the

   plaintiff.” Cisneros v. Petland, Inc., 972 F.3d 1204, 1211 (11th Cir. 2020). Plaintiff has not

   plausibly alleged any cognizable RICO enterprise, has not sufficiently alleged the required two

   predicate acts, has not shown any pattern of racketeering activity, and has failed to adequately

   allege RICO standing. See Section II A of Defendant Hillary Rodham Clinton’s Motion to

   Dismiss, pp. 6-14.




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          Furthermore, Plaintiff does not plausibly allege that HFA participated in the purported

   enterprise, let alone participated through a pattern of racketeering activity, as required by the RICO

   statute. 18 U.S.C. § 1962(c); see Boyle v. United States, 556 U.S. 938, 947 n.4 (2009)(“[S]everal

   individuals, independently and without coordination, engaged in a pattern of crimes listed as RICO

   predicates . . . [is] not . . . enough to show that the individuals were members of an enterprise.”)

   Plaintiff’s allegations concerning HFA’s direction of the alleged racketeering activity are entirely

   conclusory. Indeed, Plaintiff merely states that HFA “directed” other alleged participants or was

   an active participant of the conspiracy to commit theft of trade secret. See, e.g., ¶¶ 102, 109, 122,

   123, 286, 294. The allegations are merely “formulaic recitation[s] of the elements of a cause of

   action,” and “‘naked assertion[s]’ devoid of ‘further factual enhancement,’” which do not suffice

   to state a claim upon which relief can be granted and are not enough to survive a motion to dismiss.

   Iqbal, 556 U.S. at 678 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 554, 555, 557 (2007)).

          Plaintiff’s claim that HFA engaged in obstruction of justice under 18 U.S.C. §§ 1503 and

   1512 is also deficient. Plaintiff fails to identify any “official proceeding” Defendants purportedly

   obstructed. 2 See 18 U.S.C. § 1515(a) (defining “official proceeding” as a federal judicial case, a

   proceeding before Congress, a proceeding before a federal government agency, or a proceeding

   involving insurance business.) The Complaint centers on the FBI’s investigation into ties between

   Plaintiff and Russia, but “an FBI investigation is not an official proceeding under the obstruction

   of justice statute.” United States v. Ermoian, 752 F.3d 1165, 1172 (9th Cir. 2013). Plaintiff makes

   vague references to other investigations, but investigations that do not result in charges are not

   “official proceedings” under the statute. See United States v. Young, 916 F.3d 368, 384 (4th Cir.



   2
          Obstruction of justice under 18 U.S.C. § 1503 requires a pending judicial proceeding. See
   United States v. Davis, 854 F.3d 1276, 1290 (11th Cir. 2017). Plaintiff identifies no such
   proceeding in his Complaint.
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   2019). Moreover, Plaintiff has failed to allege that HFA withheld, altered, or destroyed evidence

   in any way. See 18 U.S.C. § 1515. Plaintiff’s sole allegation is that HFA contributed to the

   creation of documents that contained purported inaccuracies. Such conduct is not convered by 18

   U.S.C. § 1515.

          Plaintiff’s allegations do not come close to showing that HFA engaged in a single RICO

   predicate act, let alone “a pattern of racketeering activity.” See 18 U.S.C. § 1962(c). Plaintiff has

   not pled either “closed-ended” or “open-ended” continuity of the alleged racketeering. See Section

   II A of Defendant Hillary Rodham Clinton’s Motion to Dismiss, pp. 11-12. Nor has Plaintiff

   satisfied the heightened “direct causation” standard in RICO claims and shown a “direct relation

   between the injury asserted and the injurious conduct alleged.” Holmes v. Securities Investor

   Protection Corp., 503 U.S. 258, 268 (1992); In re Takata Airbag Prods. Liability Litig., 524 F.

   Supp. 3d 1266, 1283 (S.D. Fla. 2021). Plaintiff has alleged injury in only the vaguest terms and

   failed to demonstrate that his alleged $24 million in “defense costs” and lost business opportunities

   are the direct result of the alleged RICO violation. See Section II A of Defendant Hillary Rodham

   Clinton’s Motion to Dismiss, pp. 13-14.

      B. Count II: RICO Conspiracy

          As articulated in Section II B of Defendant Hillary Rodham Clinton’s Motion to Dismiss,

   Plaintiff has failed to state a RICO conspiracy claim for which he is entitled relief. “In order to

   state a claim for civil RICO conspiracy, a plaintiff must allege an illegal agreement to violate a

   substantive provision of the RICO statute.” Super Vision Intern., Inc. v. Mega Intern. Commercial

   Bank Co., Ltd., 534 F. Supp. 2d 1326, 1342 (S.D. Fla. 2008) (internal quotation marks omitted).

   “A plaintiff can establish a RICO conspiracy claim in one of two ways: (1) by showing that the

   defendant agreed to the overall objective of the conspiracy; or (2) by showing that the defendant



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   agreed to commit two predicate acts.” Republic of Panama v. BCCI Holdings (Luxembourg) S.A.,

   119 F.3d 935, 950 (11th Cir.1997). Plaintiff has not plausibly alleged sufficient facts regarding

   any purported agreement between HFA and other entities or persons to engage in the ongoing

   criminal conduct of an enterprise. In fact, the non-conclusory allegations as to Defendant’s

   participation in a RICO conspiracy are limited to its engagement of counsel for the campaign.

   Plaintiff’s allegations of Defendant’s ordinary conduct, absent a plausibly-alleged “meeting of the

   minds,” fail to “nudge[ his] claims across the line from conceivable to plausible.” See Bell Atlantic

   Corp. v. Twombly, 550 U.S. 544, 557 (2007). Moreover, Plaintiff has failed to adequately plead a

   RICO claim and so his RICO conspiracy claim also fails. See Jackson v. BellSouth Telecomms.,

   372 F.3d 1250, 1269 (11th Cir. 2004) (noting that the complaint “simply concludes that the

   defendants conspired and confederated to commit conduct which in itself does not constitute a

   RICO violation”).

      C. Count IV: Conspiracy to Commit Injurious Falsehood

          As articulated in Sections II C and D of Defendant Hillary Rodham Clinton’s Motion to

   Dismiss, Plaintiff has failed to state a claim for conspiracy to commit injurious falsehood because

   Plaintiff failed to adequately plead the claim of injurious falsehoods and the statements identified

   in the Complaint are political speech protected by the First Amendment. See Horsley v. Feldt, 304

   F.3d 1125, 1131 (11th Cir. 2002) (acknowledging that statements “may well include vehement,

   caustic, and sometimes unpleasantly sharp attacks,” but they are nevertheless “constitutionally

   protected and those who make them are exempt from liability for defamation if the attacks are

   simply ‘rhetorical hyperbole’”). Plaintiff’s claim also fails to allege sufficient facts to demonstrate

   any agreement between Defendant HFA and any other defendant to commit injurious falsehood.

   Alhassid v. Bank of Am., N.A., 60 F. Supp. 3d 1302, 1316 (S.D. Fla. 2014) (“To plead civil



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   conspiracy, a plaintiff must allege (a) an agreement between two or more parties, (b) to do an

   unlawful act or to do a lawful act by unlawful means, (c) the doing of some overt act in pursuance

   of the conspiracy, and (d) damage to plaintiff as a result of the acts done under the conspiracy.”)

   (Internal quotation marks omitted).

      D. Count VII: Computer Fraud and Abuse Act

          As articulated in Section II F of Defendant Hillary Rodham Clinton’s Motion to Dismiss,

   Plaintiff has also failed to adequately plead a claim under the Computter Fraud and Abuse Act. A

   defendant can be held liable under the CFAA only if he “(1) intentionally ‘accessed’ a computer,

   (2) lacked authorization or exceeded his authorized access to the computer, (3) obtained

   information from the computer, and (4) caused a loss of at least $5,000.00 to [Plaintiff].” Hamilton

   Grp. Funding, Inc. v. Basel, 311 F. Supp. 3d 1307, 1313 (S.D. Fla. 2018) (alteration in original)

   (citation omitted). Plaintiff does not allege that HFA personally took any of these steps. Compl.

   ¶¶ 382–93. Instead, Plaintiff merely alleges that HFA “conspired” with others. Id. at ¶ 390. First,

   there are simply no factual allegations supporting this conclusory allegation of conspiracy. Second,

   the Computer Fraud and Abuse Act limits its private right of action to suits “against the violator.”

   18 U.S.C. § 1030(g); see Agilysys, Inc. v. Hall, 258 F. Supp. 3d 1331, 1344 (N.D. Ga. 2017)

   (holding that even if one defendant had “directed or induced” another defendant to violate the

   Computter Fraud and Abuse Act, the first defendant “did not access [Plaintiff’s] computers, and

   therefore, [the first defendant] may not be held liable as the violator under the [act]”). Finally,

   Plaintiff alleges Defendants Joffe and Neustar “exploited” their “access to non-public data” to

   gather information about Plaintiff, but the Supreme Court has made clear that using existing access

   to a computer system “for an improper purpose” does not violate the statute. Van Buren v. United

   States, 141 S. Ct. 1648, 1662 (2021).



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      E. Count VIII: Theft of Trade Secrets

          Plaintiff’s claim for theft of trade secrets fails for the same reasons that Plaintiff has not

   sufficiently plead theft of trade secrets as a RICO predicate act. See Defendant Hillary Rodham

   Clinton’s Motion to Dismiss at 7-9. Plaintiff has failed to show that Plaintiff owned DNS data or

   that DNS data constitutes a “trade secret.” See United States v. Smith, 22 F.4th 1236, 1243 (11th

   Cir. 2022) (listing elements of theft of trade secrets); see also Sentry Data Sys. v. CVS Health, 361

   F. Supp. 3d, 1279, 1292 (S.D. Fla. 2018) (noting that a trade secret “derives independent economic

   value” from “not being generally known to” others). Further, the Defend Trade Secrets Act does

   not create an express or implied private right of action for redress for conspiracy to engage in theft

   of trade secrets. See Steves & Sons, Inc. v. JELD-WEN, Inc., 271 F. Supp. 3d 835, 842 (E.D. Va.

   2017) (“Where, as here, a criminal statute establishes what is a crime and specifies the punishment

   for committing the crime, it is not enforceable in a private civil action unless Congress specifically

   so provides.”).

      F. Count XIII: Respondeat Superior/Vicarious Liability

          Plaintiff’s claim for respondeat superior should be dismissed because it is not a valid cause

   of action, but rather a theory of liability. Colite Int’l Inc. v. Robert L. Lipton, Inc., No. 05 Civ.

   60046, 2006 WL 8431505, at *12 (S.D. Fla. Jan. 20, 2006); Chunhong Jia v. Boardwalk Fresh

   Burgers & Fries, Inc., 2020 WL 5628734, at *2 (M.D. Fla. Sept. 21, 2020) (“[U]nder Florida . . .

   law, respondeat superior does not constitute an independent cause of action.”) (citing Turner

   Murphy Co. v. Specialty Constructors, Inc., 659 So.2d 1242, 1245 (Fla. 1st Dist. Ct. App. 1995)).

   To the extent that Count XIII is intended to hold HFA vicariously responsible with the tort actions

   brought against Defendants Jake Sullivan, John Podesta, and Robbie Mook, the claim fails for the




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    same reasons as those underlying torts. This claim, along with the others, should be dismissed

    with prejudice.

                                             CONCLUSION

           For the forgoing reasons, HFA respectfully requests that the Court dismiss

    Counts I, II, IV, VII, VIII and XIII of Plaintiff’s Complaint with prejudice.


    Dated: May 16, 2022                                  Respectfully Submitted


                                                         /s/Robert P. Trout
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                                    CERTIFICATE OF SERVICE

           I hereby certify that on May 16, 2022, I caused to be filed electronically the foregoing with

    the Clerk of the Court using the CM/ECF system which will send notification of such filing to all

    counsel of record on this matter who are on the CM/ECF system.

                                                         /s/ Robert P. Trout
                                                         Robert P. Trout




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